                        IN THE UNITED STATES DISTRICT COURT FOR
                            THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

ANGELA STEWART,                                            )
                                                           )
           Plaintiff,                                      )
                                                           )
v.                                                         )       Civil No. 3:20-cv-00679
                                                           )       Judge Trauger
HEALTHCARE REVENUE RECOVERY                                )
GROUP, LLC,                                                )
                                                           )
           Defendant.                                      )


                               ORDER SETTING CASE FOR TRIAL

      1.         Trial setting: This case is set for jury trial on Tuesday, December 7, 2021 at
                 9:00 a.m. in Courtroom 873 of the United States Courthouse, 801 Broadway,
                 Nashville, Tennessee.

      2.         Pretrial conference setting: A pretrial conference shall be held in Judge Trauger’s
                 chambers, Room 825 United States Courthouse, 801 Broadway, Nashville,
                 Tennessee, on December 3, 2021 at 1:30 p.m. Lead counsel for each party must
                 attend the pretrial conference. If lead counsel is not from Tennessee, local counsel
                 must also attend.

      3.         Information exchanged but not filed: By November 16, 2021 , the parties shall
                 exchange copies of exhibits and make available for examination by any opposing
                 party the original of all exhibits. By this same date, the parties shall exchange
                 designations of portions of depositions which are to be read into evidence during the
                 case in chief. The parties should attempt to agree on additions to the designations
                 necessary to put responses into context.

      4.         Filings required prior to pretrial conference: The following shall be filed by
                 November 30, 2021:

                 a.      witness lists;

                 b.      exhibit lists (Plaintiff’s exhibits shall be premarked as “P-1, P-2,” etc.;
                         defendant’s exhibits shall be premarked as “D-1, D-2,” etc. The authenticity
                         of exhibits should be stipulated to if at all possible. Failure to include an
                         exhibit on this exhibit list will result in its not being admitted into evidence at
                         trial, except upon a showing of good cause.);




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       c.     stipulations; and

       d.     expert witness statements as described in Local Rule 39.019(c)(5)(E).

 5.    Motions in limine: Motions in limine shall be filed by November 19, 2021.
       Responses shall be filed by November 30, 2021.

 6.    Pretrial Order: By November 30, 2021 , the parties shall file a joint proposed Pretrial
       Order which shall contain the following:

       a.     a recitation that the pleadings are amended to conform to the Pretrial Order
              and that the Pretrial Order supplants the pleadings;

       b.     the jurisdictional basis for the action and whether jurisdiction is disputed;

       c.     a short summary of each party’s theory (prepared by the party);

       d.     a listing of the contested issues of law, with a designation of whether the issue
              is for the jury or the judge; and

       e.     a listing of known evidentiary disputes, including those involving deposition
              designations.

 7.    Duration of trial: The trial of this case is expected to last 2 days.

 8.    Jury costs: If the case settles closer to trial than two business days, the cost of
       summoning the jury may be assessed against the parties.

 It is so ORDERED.



                                              ________________________________
                                              ALETA A. TRAUGER
                                              U.S. District Judge




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